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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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ABILITY INSURANCE COMPANY,                                            ,-) ',Tf.7 1,':T ! :;·)·.
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                                   Plaintiff,
                 -against-                                               20      CIVIL 3851 (GBD)

                                                                                JUDGMENT
ST PAPER, LLC,

                                   Defendant.
-----------------------------------------------------------X

        It is hereby ORDERED, ADJUDGED AND DECREED: That for the reasons

stated in the Court's Memorandum Decision and Order dated March 29, 2022, Defendant's

motion for summary judgment dismissing Plaintiffs claims is GRANTED. Plaintiffs cross-

motion for summary judgment is DENIED.

Dated: New York, New York

          March 30, 2022


                                                                     RUBY J. KRAJICK

                                                                       Clerk of Court
                                                               BY:
